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13                          UNITED STATES DISTRICT COURT
14                         SOUTHERN DISTRICT OF CALIFORNIA
15
16   ENSOURCE INEVESMENTS LLC, a                         Case No.: 3:17-CV-00079-H-JMA
     Delaware limited liability company,
17
                                      Plaintiff,
18                                                       TABLE OF EXHIBITS
     v.
19
     THOMAS P. TATHAM, an individual;
20   MARK A. WILLIS, an individual; PDP
21   MANAGEMENT GROUP, LLC, a Texas
     limited liability company; TITLE
22   ROVER, LLC, a Texas limited liability
23   company, BEYOND REVIEW, LLC, a
     Texas limited liability company; IMAGE
24   ENGINE, LLC, a Texas limited liability
25   company; WILLIS GROUP, LLC, a
     Texas limited liability company,
26
                                   Defendants.
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28
                                                   -1-
     3:17-CV-00079-H-JMA                                                     TABLE OF EXHIBITS
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1           In support of their motion under Rule 12(b) (2) and (3), and their motion to transfer
2    venue, defendants file and incorporate the following evidence:
3           Description                                                      Page
4           Affidavit of Thomas P. Tatham (the “Tatham Affidavit”)           Tatham Affid. 3-7
5           Affidavit of Mark Willis (the “Willis Affidavit”)                Willis Affid. 8-11
6
            Exhibit 1: Online record from the Delaware Department            Ex. 1 12
7           of State, Division of Corporations
8
            Exhibit 2: September 29, 2016 Subscription Agreement             Ex. 2 13-27
9           (the “Ensource Subscription Agreement”)
10          Exhibit 3: Third Amended and Restated Company                    Ex. 3 28-67
11          Agreement of Hopewell-Pilot Project, LLC (the “Company
            Agreement”)
12
13   DATED:        February 9, 2017                Respectfully admitted,
14                                                 GOMEZ TRIAL ATTORNEYS
15
16                                                 /s/ John H. Gomez, Esq.
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     3:17-CV-00079-H-JMA                                                      TABLE OF EXHIBITS
